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SI
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            STAT*f
         Plaintiff,
                      INTHE UNITED STATES DISTRICT COURT
                      FOR TILE WESTERN DISTRICT OF TEXAS

                      .'b
                            SA


                              A,
                                   AN'rnNTn TflVISTflN
                                         SA-20-CR-543..OLG

                                              SUPERSEDING 1NDICIV4ENT
                                              COUNT I Title 21, U S C
                                                                         JAN 2 0



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                                                                  CLER1I lib DISTRICT COURT
                                                                                       OF TEXAS
                                                                               DEPUTY CLERK


                                                                              846,
                                              841(a)(1) & 84i(b(i)A) - Conspiracy
                                              to Possess with intent to Distribute
                V.                            (Metham phetamine

                                              COUNT H: Title 21, U.S.C. § 846,
                                              841(a)(I) & 841(b)(1)tA - Conspiracy
FAUSTINO CAMPOS NAJERA (2),                   to Possess with intent to Distribute
GENARO ORTIZ, also known as "Carita" (3),     (Cocaine)
VICENTE RIVERA CENICEROS (4),
GIJILLERMO BERMUDEZ OLIVARES (5),            COUNT Ill: Title 21, U.S.C. § 846,
RAFAEL PALACIOS SANCHEZ (7),                 841(a)(1) & 841(b)(I)(A) - Conspiracy
                                             to Possess with intent to Distribute
ILER1BERTQDE LA GARZA SAIJCEUQ (Ri.          (Heroin)
             I          ALVARADO             COUNT IV: Title 21, U.S.C. §
(10),                                        841(a)(l) & 841(b)(1)(c), 18 U.S.C. § 2 -
JOSE LUIS NAJERA, also known as "Chepe"      Possession with intent to Distribute
(11),                                        (Cocaine), and Aiding and Abetting

 E I IVAN CUELLAR, also known as             COUNT V: Title 21, U.S.C. §
                                             841(a)(1) & 841(b)(1)(A) - Possession
"Checo" (13),
                                             with intent to Distribute
GERARDO SOTO GOMEZ (14),                     (Methamphetamine)
HOMERO DE LA GARZA (15),
and                                          COUNT VI: Title 21, U.S.C. §
NESTOR LOPEZ (16)                            841(a)(1) & 841(b)(1)(A) - Possession
                                             with intent to Distribute
        Defendants.                          (Methamphetainine)
                                            COUNT WI: Title 21, U.S.C. §
                                            841(a)(1) & 841 (bXl)(A), 18 U S C § 2
                                            - Possession with intent to Distribute
                                            (Methamphetamine), and Aiding and
                                            Abetting

                                            COUNT VIII: Title 21, U.S.C. §
                                            841(a)(1) & 841(b)(1)(A), 18 U.S.c. § 2
                                            - Possession with intent to Distribute
                                            (Methatnphetamine), and Aiding and
                                            Abetting
                                            COUNT IX: Title 21, U.S.C. § 846,
                                            841(a)(1) & 841(b)(I)(A), 18 U.S.C. §2
                                            - Attempted Possession with intent to
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                                                        Distribute (Cocaine), and Aiding and
                                                        Abetting
                                                        COUNT X: Title 21, U.S.C.   §
                                                        841(a)(1) & 841(b)(1)(A), 18 U.S.C. § 2
                                                        - Possession with intent to Distribute
                                                        (Methamphetamine), and Aiding and
                                                        Abetting

                                                       COUNT XI: Title 21, U.S.C. § 846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U S C
                                                       § 2 Attempted Possession with intent
                                                       to Distribute (Methamphetarnine), and
                                                       Aiding and Abetting

                                                       COUNT Xli: Title 21, U.S.C. § 846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U.S.C.
                                                       § 2 - Attempted Possession vuth intent
                                                       to Distribute (Heroin), and Aiding and
                                                       Abetting

                                                       COUNT Xiii: Title 21, U.S.C. § 846
                                                       and 841(a)(1) & 841(b)(1)(A), 18 U.S.C.
                                                       § 2 Attempted Possession with intent
                                                       to Distribute (Cocaine), and Aiding and
                                                       Abetting
                                                       COUNT XIV: Title 18 U.S.a. §
                                                       1956(a)(2)(B)(i) and 1956(h)
                                                       Laundering of Monetary Instruments
                                                       Conspiracy




                                         COUNT ONE
                          [21 U S C § 846, 841(a)(1) & 841(b)(1)(A)1

       Beginning on or about October 2019, the exact date unknown, and continuing until the date

of this indictment, in the Western District of Texas, Defendants,


                            FAUSTINO CAMPOS NAJERA (2),
                        GFJNARO ORTIZ, also known as "Carita" (3),
                           VICENTE RIVERA CENICEROS (4),
                        GUILLERMO BERMUDEZ OLIVARES (5),
                           RAFAFL PALACIOS SANCHEZ (7),
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                            HERIBERTO DE LA CARZA SAUCEDO (8),
                          JOSE LUIS NAJERA, also known as "Chepe" (ii),

                       SERGIO IVAN CUELLAR, also known as "Checo" (13),
                                         and
                                HOMERO DE LA GARZA (15),
    knowingly and intentionally conspired, combined, confederated, and agreed together, and with

    each other, and with others, to commit the following offenses against the United States: to

    distribute a controlled substance, which offense involved 500 grams or more of a mixture or

    substance containing a detectable amount of methamphetamine, a Schedule II Controlled

    Substance, in violation of Title 21, United States Code Sections           841(a)(1)   and 841(b)(l)(A). All

    in violation of Title 21, United States Code, Section 846.

                                             COUNT TWO
                              121   U S C § 846, 841(a)(1) & 841(b)(l)(A)J

           Beginning on or about October 2019, the exact date unknown, and continuing until the date

    of this indictment, in the \Vestern District of Texas, Defendants,


                                FAUSTINO CAMPOS NAJERA (2),
                            GENARO ORTIZ, also known as "Carita" (3),
                              VICENTE RIVERA CENICEROS (4),
                            GUILLERMO BERM UDEZ OLIVARES (5),
                               RAFAEL FALACIOS SANCHEZ (7),

                           SALVADOR ELI LOZANO ALVARADO (10),
                         JOSE LUIS NAJERA, also known as "Chepe" (11),

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                                                  t$)




   knowingly and intentionally conspired, combined, confederated, and agreed together, and with

   each other, and with others, to commit the following offenses against the United States: to

   distribute a controlled substance, which offense involved           5   kilograms or more of a mixture or
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     substance containing a detectable amount of cocaine, a Schedule II Controlled Substance, in

     violation of Title 21, United States Code Sections 841(a)(1) and 841(b)(1)(A). All in violation of

     Title 21, United States Code, Section 846.


                                           COUNT THREE
                              [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)]

            Beginning on or about October 2019, the exact date unknown, and continuing until the date

    of this indictment, in the Western District of Texas, Defendants,

                            GENARO ORTIZ, also known as "Carita" (3),
                                           and
                                RAFAEL PALACIOS SANCHEZ (7),

    knowingly and intentionally conspired, combined, confederated, and agreed together, and with

    each other, and with others, to commit the following offenses against the United States: to

    distribute a controlled substance, which offense involved   1   kilogram or more of a mixture or

    substance containing a detectable amount of heroin, a Schedule I Controlled Substance, in

    violation of Title 21, United States Code Sections 841(a)(1) and 841(b)(1)(A). All in violation of

    Title 21, United States Code, Section 846.


                                            COUNT FOUR
                      [21 U.S.C. § 841(a)(1) & 841(b)(1)(C)     and 18 U.S.C. § 2J

           That on or about November 22, 2019, in the Western District of Texas, Defendant,

                               VICENTE RIVERA CENICEROS (4),
   aided and abetted by others, did knowingly, intentionally and unlawfully possess with the intent

   to distribute, a controlled substance, which offense involved a mixture or substance containing a

   detectable amount of cocaine, a Schedule II Controlled Substance, in violation of Title 21, United

   States Code, Sections 841(a)(1) and 841(b)(1)(C) and 18 U.S.C.    §   2.




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                                                COUNT FIVE
                                  [21 U.S.C. § 841(a)(1) & 841(b)(1)(A)]

            That on or about December 6, 2019, in the Western District of Texas, Defendant,

                              GUILLERMO BERMUDEZ OLIVARES (5),

    did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

    substance, which offense involved 500 grams of a mixture or substance containing a detectable

    amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United

    States Code, Sections 841 (a)( 1) and 841 (b)( 1 )(A).



                                                 COUNT SIX
                                  [21 U.S.C. § 841(a)(1) & 841(b)(1)(A)]

           That on or about February 12, 2020, in the Western District of Texas, Defendant,

                             GUILLERMO BERMUDEZ OLIVARES (5),

    did knowingly, intentionally and unlawfully possess with the intent to distribute, a controlled

   substance, which offense involved 500 grams of a mixture or substance containing a detectable

   amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United

   States Code, Sections 841(a)(1) and 841(b)(1)(A).


                                              COUNT SEVEN
                       [21 U.S.C. § 841(a)(1) & 841(b)(1)(A) and 18 U.S.C. § 2J

           That on or about March 6, 2020, in the Western District of Texas, Defendants,

                               FAUSTINO CAMPOS NAJERA (2),
                            GENARO ORTIZ, also known as "Carita" (3),
                              VICENTE RIVERA CENICEROS (4),
                                              and
                          JOSE LUIS NAJIERA, also known as "Chepe" (11)

   aided and abetted by each other, did knowingly, intentionally and unlawfully possess with the

   intent to distribute, a controlled substance, which offense involved 500 grams or more ofa mixture
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    or substance containing a detectable amount of methamphetamine, a Schedule. II Controlled

    Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and

    18   U.S.C.   § 2.



                                               COUNT EIGHT
                            [21 U.S.C. § 841(a)(1) & 841(b)(1)(A)   and 18 U.S.C. § 2J

            That on or about March 23, 2020, in the Western District of Texas, Defendants,

                                 VICENTE RIVERA CENICEROS (4),
                           SERGIO IVAN CUELLAR, also known as "Checo" (13),
                                              and
                                    HOMERO DE LA GARZA (15),

    aided and abetted by each other, did knowingly, intentionally and unlawfully possess with the

    intent to distribute, a controlled substance, which offense involved 500 grams or more of a mixture

    or substance containing a detectable amount of methamphetamine, a Schedule II Controlled

    Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 (b)(1 )(A) and

    18 U.S.C. § 2.




                                                COUNT NINE
                         [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)   and 18 U.S.C. § 21

            That on or about March 30, 2020, in the Western District of Texas, Defendant,

                                    FAUSTINO CAMPOS NAJIERA (2),

   aided and abetted by others, did knowingly, intentionally and unlawfiully attemptto possess with

   the intent to distribute, a controlled substance, which offense involved    5   kilograms or more of a

   mixture or substance containing a detectable amount of cocaine, a Schedule II Controlled

   Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 (b)( 1 )(A), and

   18 U.S.C. § 2. All in violation Title 21,   United States Code, Section 846.
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                                                COUNT TEN
                        121   U.S.C. §841(a)(1) & 84I(b)(1)A) and 18 U.S.C. 2J
                                                                           §

            That on or about April 28, 2020, in the Western District of Texas. Defendants,


                                FAUSTINO CAMPOS NA.JERA (2),
                            GENARO ORTIZ, also known as "Carits" (3)
                            RERIBERTO DE LA GARZA SAUCEDO (8)
                                             and
                          JOSE LUIS NAJERA, also known as "Chepe" (11),

    aided and abetted by each other, did knowingly, intentionally and unlawfully possess with
                                                                                              the
    intent to distribute, a controlled substance, which offense involved 500 grams or more of a mixture

    or substance containing a detectable amount of methamphetamine, a Schedule II
                                                                                  Controlled
    Substance, in violation of Title 21, United States Code, Sections 84 1(a)( 1) and 841 (b)( 1 )(A), and




                                            COUNT ELEVEN
                    [21 U.S.C. § 846, 841(a)(1) & 8411b)(1)(A) and 18 U.S.C. 21
                                                                            §

           That on or about June 29, 2020, in the Western District of Texas, Defendant,

                              GENARO ORTIZ, also known as "Carita" (3.),

   aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

   the intent to distribute, a controlled substance, which offense involved 500 grams or more of a

   mixture or substance containing a detectable amount of methamphetamine, a Schedule Ii

   Controlled Substance, in violation of Title 21, United States Code, Sections 84! (a)(i) and

   84i(b)(1)A), and   18 U.S.C. § 2. All in violation   of Title 2!, United States Code, Section 846.


                                          COUNT TWELVE
                   121 USC §       846, 841(a)(1) & 841(b)(1)(4) And 18 U     SC    § 2J

          That on or about June 29, 2020, in the \Vestern District of Texas, Defendant,

                           GENARO ORTIZ, also known as "Carita" (3),
                                                    7
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     aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

    the intent to distribute, a controlled substance, which offense involved 5 kilograms or more of a

    mixture or substance containing a detectable amount of cocaine, a Schedule II Controlled

    Substance, in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 (b)(1 )(A), and

    18 U.S.C. § 2. All in violation     of Title 2.1, United States Code, Section   846.


                                         COUNT THIRTEEN
                     [21 U S C §       846, 841(a)(1) & 841(b)(1)(A) and 18 U S C. § 2)

            That on or about June 29, 2020, in the Western District of Texas, Defendant,

                               CENARO ORTIZ, ilso known as "Carita" (3),

    aided and abetted by others, did knowingly, intentionally and unlawfully attempt to possess with

    the intent to distribute, a controlled substance, which offense involved        1   kilogram or more of a

    mixture or substance containing a detectable amount of heroin, a Schedule I Controlled Substance,

    in violation of Title 21, United States Code, Sections 841 (a)( 1) and 841 (b)(l )(A), and 18 U.S.C. §

    2. All in violation   of Title 21, United. States Code, Section 846.


                                            COUNT FOURTEEN
                                  [18 U S C § I 956(a)(2)(B)(i) and 1956(h))

           Beginning on or about October 2019, the exact date unknown, and continuing until the date

   of this indictment, in. the Western District of Texas. Defendants,


                                  FAUSTINO CAMPOS NAJERA (2),
                              GENARO ORTIZ, also known as "Carita" (3),
                                 RAFAEL PALACLOS SANCHEZ (7),
                              HERIBERTO DE LA GARZA SAUCEDO (8),
                                              and
                            JOSE LUIS NAJFRA, also known as "Chepe" (11)

   did knowingly conspire with others known and unknown to the Grand Jury to transport, transmit

   and transfer, and attempt to transport, transmit and transfer monetary instruments and funds from
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       a place in the United States to or through a place outside the United States, knowing that the

       monetary instrument and funds involved represented the proceeds of a specified unlawful activity,

       to-wit: drug trafficking violations of Title 21, United States Code, Sections 846 and 841 (a)(1),

       knowing that such transportation, transmission, and transfer was designed in whole or in part to

    conceal and disguise the nature, the location, the source, the ownership, or the control of the

    proceeds of the specified unlawful activity, in violation of Title 18, United States Code, Sections

       1   956(a)(2)(B)(i) and 1956(h).



              NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITU1U
                                   [See Fed.R.Crim.P. 32.2J


                                                        I.

                                     Drug Violations and Forfeiture Statutes
                                  [Title 21 Usc § 846, 841(a)(1), and (b)(1)(A),
                       subject to forfeiture pursuant to Title 21 USC § 853(a)(1) and   (2)J

                As a result of the foregoing criminal violations set forth in Counts One through Thirteen,

   the United States of America gives notice to Defendants of its intent to seek the forfeiture of the

   properties described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C.

   §        853(a)(1) and (2), which states:

                TItle 21 U.S.C. § 853. Criminal forfeitures
                        (a) Property subject to criminal forfeitures.
                        Any person convicted of a violation of this subchapter or subchapter II of this
                        chapter punishable by imprisonment for more than one year shall forfeit to the
                       United States, irrespective of any provision of State law.--
                               (1) any property constituting, or derived from, any proceeds the person
                               obtained, directly or indirectly, as the result of such violation;
                               (2) any of the person's property used, or intended to be used, in any
                               manner or part, to commit, or to facilitate the commission of, such
                               violation;...
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                                                            II.
                             Money Laundering Violations and Forfeiture Statutes
                     [Title 18 U.S.C. § 1956(a)(2)(B)(i) and 1956(h), subject to forfeiture
                                    pursuant to Title 18 U.S.C. § 982(a)(1)J
               As a result of the foregoing criminal violations set forth in Count Fourteen, the United

     States of America gives notice to Defendants of its intent to seek the forfeiture of the property

     described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 US.C. 982(a)(1),
                                                                                         §

     which states:

               Title 18 U.S.C. § 982. Criminal forfeiture
                   (a)(1) The court, in imposing sentence on a person convicted of an offense in
                   violation of section 1956. . . of this title, shall order that the person forfeit to the
                   United States any property, real or personal, involved in such offense, or any
                   property traceable to such property.

               This Notice of Demand for Forfeiture includes, but is not limited to the following properties

    described in Paragraphs hI-Vu.

                                                         III.
                                                   Real Properties

          1.    Real Property located and situated at 538 Pharis, San Antonio, Bexar County,
                Texas, with all buildings, appurtenances, and improvements thereon and any and
                all surface and sub-surface rights, title, and interests, if any, and being more fully
                described as follows:

                LOT 7, BLOCK 11, NEW CITY BLOCK 12327, ARROYO VISTA
                SUBDIVISION, CITY OF SAN ANTONIO, BEXAR COUNTY, TEXAS,
                ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN VOLUME
                9562, PAGES 5-6, AMENDED IN VOLUME 9566, PAGES 117-118, DEED
                AND PLAT RECORDS, BEXAR COUNTY, TEXAS.

         2. Real Property located and situated at 3054 Beacon Field, San Antonio, Bexar
            County, Texas, with all buildings, appurtenances, and improvements thereon and
            any and all surface and sub-surface rights, title, and interests, if any, and being
            more. fully described as follows:

               LOT 14, BLOCK 13, HERITAGE PARK SUBDIVISION, UNIT 8, CITY OF
               SAN ANTONIO, BEXAR COUNTY, TEXAS, ACCORDING TO THE MAP OR
               PLAT THEREOF RECORDED IN VOLUME 9511, PAGES 148-149, DEED
               AND PLAT RECORDS OF BEXAR COUNTY, TEXAS.


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                                                              lv,
                                                    Firearms
             1.    Glock 26, 9mm, Serial Number: ENH24O;
             2, Browning 9mm, Serial Number: 511 ZW50243;
             3. Beretta AL 391 Urika 12 gauge shotgun, Serial Number: AA4 18582;
             4. Bolt action rifle Weatherby MK5, 7mm, Magnum, Serial Number: 11108244;
             5, Colt MK IV Series 80, 380 handgun, Serial Number: RC3 8870;

             6. Bushmaster XMI5 Carbine Rifle; Serial Number: L477540;
             7, Springfield Armory, Model XD-9, 9mm, Serial Number: XD895888;
             8. Mossberg Rifle, Model Patriot, 30-60 caliber, Serial Number: MPRO25 1740;
             9. Stevens Rifle, Model 320, 20 gauge, Serial Number: 208728G;
             10. Taurus TCP pistol, .380 caliber, Serial Number: PT738

             11. North American Arms LTD 22 caliber revolver        - 5 round chamber, Serial Number:
                  BLL2O1; and
         12, Any and a!! firearms, ammunition, andlor accessories involved in or
                                                                                 used in the
                  commission of the criminal offenses.

                                                          V.
                                                   Currency
         1. $9,560.00, More or Less, in U.S. Currency seized at 538 Pharis Street;
         2. $650.00, More or Less, in U.S. Currency seized at 302 Hermitage;
         3. $3,000.00, More or Less, in U.S. Currency seized at 4150 Barrington Street;
        4. $15,346.00, More or Less, in U.S. Currency seized at 419 Rosehill Drive; and
        5, $1,700.00, More or Less, in U.S. Currency seized at 118 Maple Valley.


                                                         VI.
                                                   Vehicks

        1.        2012 Dodge Ram 3500, Vin# 3C63DRGL2C0345494, seized from Faustino Campos
                  Najera(2);
        2.        2007 4-Star Horse Trailer with Living Quarters, Vin 4FKPG302570027305, seized
                  from
        3.        2015 Chevrolet Silverado 2500, Vin# IGCIKXE82FF5983 14, seized from Vicente
                  Rivera Ceniceros (4); and
        4,        2015 Dodge Ram 3500, Vin 3C63RRNL4FG661 827, seized from Guillenno
                  Bermudez Olivares (5).
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                                                  VII.
                                           Personal Properties
            1.Counterfeit currency in the amount of $80.00, more or less;
           2. Counterfeit currency in the amount of $60.00, more
                                                                 or less;
           3. Knife set with 3 blades and case; and

           4. Digital pocket scale.



                                                 ATRUE BILL.



                                                 FtERSON OPJHE GRAND JURY
                                                      1

    GREGG N. SOFER
    UNITED STATES ATTORNEY


    BY:                               0
            ADRIAN g.OSALES
            Assistant United States Attorney




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